                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE


Athanasios Edmontson                               )
                                                   )
v.                                                 )      NO. 3:13cv1046
                                                   )      JUDGE Trauger
James L. Elkins, et al.                            )
                                                   )


                                  ENTRY OF JUDGMENT


              Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on 10/2/2013.



                                                   KEITH THROCKMORTON, CLERK
                                                   s/Tina M. Webster, Deputy Clerk




     Case 3:13-cv-01046 Document 5 Filed 10/02/13 Page 1 of 1 PageID #: 29
